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                    UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


  MELINDA GONZALEZ

                          Plaintiff,
     v.
                                             CASE NO.: 8:20-CV-1489-TPB-AEP
  R.C. TOWING & RECOVERY,
  INC., a Florida Profit
  Corporation and ALEJANDRO
  DIAZ, individually,


          Defendants.
                                       /


               JOINT MOTION TO APPROVE SETTLEMENT
               AND MEMORANDUM IN SUPPORT THEREOF

          Plaintiff, Melinda Gonzalez, R.C Towing and Recovery Inc., and

  Alejandro Diaz, (“Defendants”) (the Parties), by and through their respective

  undersigned counsel, hereby submit the terms of the Parties’ settlement of the

  above-captioned matter and respectfully request the Court approve the proposed

  settlement agreement, attached as Exhibit A,        and dismiss this case with

  prejudice. The Parties reached the proposed settlement prior to trial. The Parties
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  submit the following memorandum of law in support of their motion.

                             MEMORANDUM OF LAW

    I.     BACKGROUND

          Plaintiff was previously employed by R.C Towing and Recovery Inc., as

  a dispatcher.

          Plaintiff’s complaint alleges that Defendants violated the Fair Labor

  Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (“FLSA”), by

  failing to pay all alleged unpaid overtime compensation. Defendants vigorously

  deny any wrongdoing under the FLSA, and further deny that Plaintiff is entitled

  to any relief whatsoever. The parties agree that there is a bona fide, good faith

  dispute as to both liability and damages regarding Plaintiff’s claims.

  To avoid the costs and uncertainty of further litigation, the parties have

  negotiated a settlement of this matter. The parties stipulate that they had a bona

  fide dispute and that they are resolving the matter in order to avoid the cost and

  time of litigating the issues, as well as the risks associated with continued

  litigation.     All parties have been represented by counsel throughout the

  litigation. Additionally, Plaintiff’s claims involve disputed issues.

          Out of an abundance of caution, however, the Parties now submit this

  Motion for the Court’s consideration and approval of the settlement reached by

  the parties.

    II.    LEGAL FRAMEWORK


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          There are two ways in which claims under the FLSA can be settled

    and released by employees. First, 216(c) of the FLSA allows employees to

    settle and waive their claims under the FLSA if the payment of unpaid wages

    by the employer to the employee is supervised by the Secretary of Labor. See

    29 U.S.C. 216(c); Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350,

    1353 (11th Cir. 1982). Second, in the context of a private lawsuit brought by

    an employee against an employer under section 216(b) of the FLSA, an

    employee may settle and release FLSA claims against an employer if the

    parties present the district court with a proposed settlement and the district

    court enters a stipulated judgment approving the fairness of the settlement.

    Id.; see also Sculte, Inc. v. Gandi, 328 U.S. 108, 66 S. Ct. 925, 928 n. 8, 90

    L. Ed. 1114 (1946); Jarrad v. Southeastern Shipbuilding Corp., 163 F.2d

    960, 961 (5th Cir. 1947). The Eleventh Circuit has stated that the

    circumstances justifying court approval of an FLSA settlement in a litigation

    context are as follows:

          Settlements may be permissible in the context of a suit brought
          by employees under the FLSA for back wages because initiation
          of the action by the employees provides some assurance of an
          adversarial context. The employees are likely to be represented
          by an attorney who can protect their rights under the statute.
          Thus, when the parties submit a settlement to the court for
          approval, the settlement is more likely to reflect a reasonable
          compromise of disputed issues than a mere waiver of statutory
          rights brought by an employer’s overreaching. If a settlement in
          an employee FLSA suit does reflect a reasonable compromise



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             over issues, such as FLSA coverage or computation of back
             wages that are actually in dispute, we allow the district court to
             approve the settlement in order to promote the policy of
             encouraging settlement of litigation.

    Lynn’s Food Stores, 679 F.2d at 1354.

           The Court may approve the settlement “in order to promote the policy of

    encouraging settlement of litigation.” Id. At 1354. In determining whether

    the settlement is fair and reasonable, the Court may consider the following

    factors:

            (1)    the existence of fraud or collusion behind the settlement;
            (2)    the complexity, expense, and likely duration of the litigation;
            (3)    the stage of the proceeding and the
                   amount of discovery completed;
            (4)    the probability of Plaintiffs success on the merits;
            (5)    the range of possible recovery; and
            (6)    the opinions of the counsel.

    See Leverso v. South Trust Bank of Ala. Nat. Assoc., 18 F.3d 1527 n.6 (11th

    Cir. 1994); Hamilton v. Frito-Lay, Inc., No. 6:05-cv-592-Orl-22JGG, 2007

    U.S. Dist. LEXIS 10287 at *2-3, (M.D. Fla. Jan. 8, 2007). The Court should

    be mindful of the strong presumption in favor of finding a settlement fair.

    Hamilton, 2007 U.S. Dist. LEXIS at *2-3.

    III.    ALL OF THE RELEVANT CRITERIA SUPPORT THE
            FAIRNESS OF THE SETTLMENT

            As discussed above, Plaintiff acknowledges that the settlement amount

    represents full compensation for the FLSA claims for all alleged unpaid

    wages, plus an equal amount of liquidated damages and a reasonable



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    attorney’s fee. Accordingly, the settlement is fair.

          The settlement involves no fraud or collusion. The proposed

    settlement arises from an action brought by Plaintiff against their former

    employer, which was adversarial in nature. Courts have found no fraud or

    collusion exists when both parties were represented by counsel and the

    amount paid to the Plaintiffs seemed fair. See Helms v. Central Fla. Reg.

    Hosp., No. 6:05-cv- 383-Orl-22JGG, 2006 U.S. Dist. LEXIS 92994 at *11-

    12 (M.D. Fla. 2006). Here Plaintiff was independently represented by

    experienced counsel and the settlement was negotiated between counsels, in

    consultation with the Parties.

          The probability of success on the merits, and the complexity, expense,

    and length of future litigation also weigh in favor of this settlement. This

    settlement, therefore, is a reasonable means for all parties to minimize future

    risks and litigation costs.

           The Parties agree that they have been able to properly evaluate the

    claims and Plaintiff has at all times been represented by counsel. In agreeing

    upon the proposed settlement, the Parties had sufficient information and had

    conducted an adequate investigation to allow them to make an educated and

    informed analysis of the claims.

            Counsel for Plaintiff and for Defendants believes the settlement to be

    fair and reasonable, as Plaintiff was fully compensated and her attorney was



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    fully paid.

           The Parties further advise the Court that a material term of the

    Parties’ settlement involves the dismissal of this action with prejudice.

    IV.   THE PROPOSED ATTORNEY’S FEES AND COSTS ARE
          REASONABLE

          As the Court explained in Bonetti v. Embarq Management Co., 2009

    U.S. Dist. LEXIS 68075 at *11-12 (M.D. Fla. Aug. 4, 2009), where a

    “Plaintiff’s attorneys’ fee was agreed upon separately and without regard to

    the amount paid to the Plaintiff, then unless the settlement does not appear

    reasonable on its face or there is reason to believe that the




    Plaintiff’s recovery was adversely affected by the amount of fees paid to

    his attorney, the Court will approve the settlement without separately

    considering the reasonableness of the fee to be paid to Plaintiff's counsel.”

    Bonetti, 2009 U.S. Dist. LEXIS 68075 at *15-16.

          Defendant’s payment of $10,500.00 for Plaintiff’s attorney’s fees and

    costs provides for the resolution of all attorneys’ fees and costs owed to

    counsel for Plaintiff. In the instant action, Plaintiff’s recovery was not

    adversely affected by the amount of fees paid to their attorney. Rather,

    Plaintiff’s claims have not been compromised despite Defendants defenses




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    to Plaintiff’s claims. The amount of fees and costs to be paid to Plaintiff’s

    counsel was negotiated independently of the amounts to be paid to Plaintiff

    and Plaintiff agreed that the amount of fees and costs to be paid to her

    attorney is both fair and reasonable. Based upon the foregoing, the payment

    to Plaintiff’s Counsel for attorneys’ fees and costs constitutes a fair and

    reasonable compromise of same.

                            TERMS OF SETTLEMENT

           The Parties hereby submit the terms of the settlement. As set forth in

    the attached Exhibit A, the Parties have agreed to settle this case as follows:

     In consideration for the mutual releases as set forth herein, Defendant
     will pay Plaintiff the gross amount of $14,500.00. Defendants will issue a
     W-2 to Plaintiff in the amount of $7,000.00 for back wages. Defendants
     will also issue a 1099 to Plaintiff in the amount of $7,000.00 for
     liquidated damages and $500.00 in consideration for the execution of a
     general release. Defendants will make a payment of $5,800.00 to the
     Plaintiff within ten (10) days of approval of the Settlement Agreement by
     the Court. Defendants shall pay the remaining consideration in six equal
     payments of $1,450.00, the first payment becoming due thirty days after
     the initial payment and each subsequent payment becoming due thirty
     days following the previous payment until the remaining five payments
     have been paid.

                                   CONCLUSION

          The settlement terms are fair, reasonable and adequate. Accordingly,
    the Parties respectfully request that the Court grant this Joint Motion for
    Approval of the Settlement and enter a Final Order of Dismissal with
    Prejudice in this action.




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    Respectfully submitted,


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  Counsel for Plaintiffs                      Counsel for Defendants
  Via CM/ECF                                  Via CM/ECF

                           CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 28, 2021, I electronically filed

    the foregoing document with the Clerk of the Court using CM/ECF, which

    will furnish a copy to counsel of record.

                                           /s/ Brianna A. Jordan
                                           Attorney




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